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                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  STIPULATION TO CONTINUE
                    17                                                                HEARINGS ON MOTION FOR
                          v.                                                          PRELIMINARY INJUNCTION AND TO
                    18                                                                INTERVENE
                          AMAZON LOGISTICS, INC.,
                    19                                                                  Date:        December 11, 2019
                                           Defendant.                                   Time:        10:00 A.M.
                    20                                                                  Place.:      United States Bankruptcy Court
                                                                                                     Edward Roybal Federal Building
                    21                                                                               255 E Temple St., Ctrm 1375
                                                                                                     Los Angeles CA 90012
                    22

                    23             This Stipulation to Continue Hearings on Motions for Preliminary Injunction and to

                    24    Intervene is entered into by and among Plaintiff, Scoobeez, Inc., (“Scoobeez”), Defendant,

                    25

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                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
                    28
                                                                                  -1-
MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 37914410.5
 ATTORNEYS AT LAW
   COSTA MESA
                Case 2:19-ap-01456-WB              Doc 32 Filed 12/10/19 Entered 12/10/19 14:34:44               Desc
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                     1    Amazon Logistics, Inc., (“Amazon”) and Proposed Intervenor, Hillair Capital Management, LLC,

                     2    (“Hillair”) (collectively, the “Parties”) with reference to the following facts:

                     3             A.      On October 25, 2019, Scoobeez filed a complaint against Amazon, which

                     4    commenced the above-captioned adversary proceeding (the “Adversary Proceeding”). Also on

                     5    October 25, 2019, Scoobeez filed its Emergency Motion for Temporary Restraining Order and

                     6    Preliminary Injunction to Prevent Violation of the Automatic Stay (the “Preliminary Injunction

                     7    Motion”). Amongst other relief, the Preliminary Injunction Motion sought a temporary

                     8    restraining order, and preliminary and permanent injunction relating to Amazon’s alleged

                     9    violations of the automatic stay.

                    10             B.      On October 28, 2019, Hillair filed a motion seeking permission to file a complaint

                    11    in intervention in the Adversary Proceeding (the “Intervention Motion”).

                    12             C.      The “Preliminary Injunction Motion”) and the Intervention Motion are presently

                    13    set for hearing before the above-captioned court (the “Court”) on December 11, 2019 at 10:00

                    14    a.m.

                    15             D.      On October 28, 2019, Amazon filed a motion seeking an order that certain actions

                    16    that it proposed to take did not violate the automatic stay and for an order modifying the

                    17    automatic stay [Bankruptcy Case Docket No. 393] (the “Stay Relief Motion”). That motion also

                    18    is presently set for hearing before this Court on December 11, 2019 at 10:00 a.m.

                    19             E.      The interests of judicial economy and of the Parties would be furthered by hearing

                    20    the Preliminary Injunction Motion, the Stay Relief Motion and the Intervention Motion

                    21    (collectively, the “Pending Motions”) on the same date.

                    22             F.      On October 29, 2019, Hillair served certain discovery requests upon Amazon in

                    23    relation to the Stay Relief Motion. On November 18, 2019, Amazon served certain discovery

                    24    requests on Hillair and Scoobeez in relation to the Stay Relief Motion. While the Parties are

                    25    working cooperatively toward setting deadlines for documents to be produced and dates for

                    26    depositions, the parties do not believe that discovery can be completed and results of that

                    27    discovery presented to this Court in connection with its consideration of the Pending Motions on

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                     1    December 11, 2019. Accordingly, the Parties wish to continue the hearing on the Pending

                     2    Motions to January 16, 2020 at 10:00 a.m.

                     3             G.      The Parties intend to continue to work cooperatively to schedule the pending

                     4    discovery and, once that has been accomplished, anticipate filing a subsequent stipulation with

                     5    this Court seeking an order establishing a briefing schedule for the filing of supplemental papers,

                     6    including the results of the pending discovery, for the Court’s consideration at the continued

                     7    hearing date of the Pending Motions.

                     8             IT IS THEREFORE STIPULATED THAT the Court may enter an order in the form

                     9    attached hereto as Exhibit 1 continuing the hearing date of the Preliminary Injunction Motion and

                    10    the Intervention Motion to January 16, 2020 at 10:00 a.m.

                    11    Dated: December 6, 2019                               MORGAN, LEWIS & BOCKIUS LLP
                    12

                    13                                                          By:   /s/ Richard W. Esterkin
                                                                                          Richard W. Esterkin
                    14                                                          Attorneys for Defendant Amazon Logistics,
                                                                                Inc.
                    15
                          Dated: December __, 2019                              FOLEY & LARDNER LLP
                    16

                    17
                                                                                By:
                    18                                                                   Ashley M. McDow
                                                                                Attorneys for Plaintiff, Scoobeez, Inc.
                    19
                          Dated: December __, 2019                              QUINN EMANUEL URGUHART &
                    20                                                          SULLIVAN, LLP
                    21

                    22                                                          By:                            ___________
                                                                                         Jennifer Nassiri
                    23                                                          Attorneys for Proposed Intervenor, Hillair
                                                                                Capital Management, LLC
                    24

                    25

                    26

                    27

                    28
                                                                        - 3a-
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 BOCKIUS LLP             DB2/ 37914410.5
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                 EXHIBIT A
                        Exhibit A - [Proposed] Order - page 4
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                     1    MORGAN, LEWIS & BOCKIUS LLP
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                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

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                          Amazon Logistics, Inc.
                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  ORDER CONTINUING HEARINGS ON
                    17                                                                MOTION FOR PRELIMINARY
                          v.                                                          INJUNCTION AND TO INTERVENE
                    18
                          AMAZON LOGISTICS, INC.,                                       Date:        December 11, 2019
                    19                                                                  Time:        10:00 a.m.
                                           Defendant.                                   Place.:      United States Bankruptcy Court
                    20                                                                               Edward Roybal Federal Building
                                                                                                     255 E Temple St., Ctrm 1375
                    21                                                                               Los Angeles CA 90012
                    22

                    23             The parties having stipulated thereto, and good cause appearing therefore,

                    24             IT IS HEREBY ORDERED that the hearing on Plaintiff Soobeez, Inc.’s motion for a

                    25    ////

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                          1
                    27      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &                                                                  -1-
 BOCKIUS LLP
 ATTORNEYS AT LAW        DB2/ 37915871.1
   COSTA MESA
                                                   Exhibit A - [Proposed] Order - page 5
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                     1    preliminary injunction and Proposed Intervenor Hillair Capital Management, LLC’s motion to

                     2    intervene be continued to January 16, 2020, at 10:00 a.m., in Courtroom 1375 of this Court.

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MORGAN, LEWIS &                                                         -2-
 BOCKIUS LLP
 ATTORNEYS AT LAW        DB2/ 37915871.1
   COSTA MESA
                                               Exhibit A - [Proposed] Order - page 6
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                      1                                  CERTIFICATE OF SERVICE FORM

                      2                                      FOR ELECTRONIC FILINGS

                      3             I hereby certify that on December 10,2019, I electronically filed the foregoing document,

                      4    STIPULATION TO CONTINUE HEARINGS ON MOTION FOR PRELIMINARY

                      5    INJUNCTION AND TO INTERVENE, with the Clerk of the United States Bankruptcy Court,

                      6    Central District of California, Los Angeles Division, using the CM/ECF       system, which will send

                      7    notification of such filing to those parties registered to receive notice on this matter.

                      8

                      9                                                    Renee Robles
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MORGAN,   LEWIS   &
  BocKIUSLLP
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify):                   Stipulation to Continue Hearings on Motion for
Preliminary Injunction and to Intervene


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 12/10/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, attached.



                                                                                        ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed       no
                             later than 24 hours after the document is filed.




                                                                                        D Service       information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date)      12/10/2019      , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D Service       information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/10/2019         Renee Robles                                                                         /~~
 Date                           Printed Name                                                      Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                       -5-                   F 9013-3.1.PROOF.SERVICE
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2:19-ap-01456-WB Service List

Richard WEsterkin on behalf of Defendant Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

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Unsecured Creditors jpf@lnbyb.com, JPFLNBYB@ecfinforuptcy.com

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David L. Neale on behalf of Creditor Committee Official Committee of
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United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com
